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Case 1:24-cv-02199-APM Document 68 Filed 04/08/25 Page1of1

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

KATHERINE DeMETRO, et al.
Plaintiffs, Civil Action No.: 24-CV-2199 (APM)

Vv.

VAUGHAN MCLEAN LLC, et al, Li
Defendants.

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AFFIDAVIT OF SERVICE

The undersigned, an attorney licensed to practice law in the District of Columbia and over the age of 18

years old, depose and say as follows:
1. That I am the attorney for the Plaintiffs in the above captioned case.
2 That on or about April 7, 2025, at 11:34 a.m., I caused the Defendant COMPUTERSHARE
TRUST COMPANY, NATIONAL ASSOCIATION, AS TRUSTEE, FOR THE BENEFIT OF
HOLDERS OF BX COMMERCIAL MORTGAGE TRUST 2024-AIR2, COMMERCIAL
MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2024-AIR2 to be served, by hand
delivering a copy of the First Amended Complaint, a copy of the February 26, 2025 Order joining this
Defendant, and the Summons issued March 3, 2025 to the D.C. Dept. of Licensing and Consumer
Protection, 1100 4th Street, SW, Washington, DC 20024 c/o Maxine Hyman, who appeared to be 45
years old, Sr. Paralegal Specialist, Dept. of Licensing and Consumer Protection, who serves as a
Superintendent of Corporations and in that capacity acts as the Mayor’s Agent for Service of Process for
businesses that fail to maintain an agent in the District of Columbia.

Verification

I declare under penalty of perjury that the foregoing is true and correct.

Dated: 4-\- LS Kes NY Sum —
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Nok 4 / My, Andrew P. McGuire, Esq. [442600]
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= aS EXP f% 3 1140 Third Street NE, Suite 200
2 i sage : Washington, D.C. 20002
30% ~° fg é (202) 618-3461
%, Dor ee acoutt wwe $ mcguireesquire@msn.com
%, lor eo oe
“ \ District of Columbia
"14 subsoil and ae to before me this 7. day of Aocs\ , 2025 Signed and to (or affirmed) before me =»

ces K. Mequrce_
MY COMMISSION EXPIRES Aec\ 7, 2025by_An R Meg

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Mi cammigsion expires: on FI 2630_

